Case 1:22-cr-00200-APM Document 9 Filed 06/03/22 Page 1 of 4

AO 199A (Rev. 06/19) Order Setting Conditions of Release Page | of 4 Pages

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UNITED STATES DISTRICT COURT

for the
District of Columbia

United States of America

Vv.
Peter N
er Navarro Case No, 22-cr-200-APM

Nee eT Ne ee ee

Defendant
ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.
(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that

the court may impose.
The defendant must appear at: 333 Constitution Ave NW Washington 20001

Place

for a status hearing before Judge Mehta

on 6/17/2022 10:00 am

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/20) Additional Conditions of Release

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ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safely of any other person and the community.

IT 1S FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(ZZ) (6) The defendant is placed in the custody of:
Person or organization
Address (only if above is an organization)
City and state Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

Custodian Date

(7) (7) The defendant must:

(LJ) (a) submit to supervision by and report for supervision lo the DC Pretrial Services weekly by phone
telephone number (202)442-1000 ,ho later than 06/08/2022

(LJ) (b) continue or actively seck employment.

((J) (c) continue or start an education program.

(C) (d) surrender any passport to:

(LD) (€) not obtain a passport or other international travel document.

(HY) (f) abide by the following restrictions on personal association, residence, or travel:
Defendant to notify PSA in advance of all travel within the continental United States. Court to approve all other travel

(LL) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

(LC) (h) get medical or psychiatric treatment:

((2J) (i) retum to custody each at o’clock after being released at o’clock for employment, schooling,
or the following purposes:

(CZ) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

([7]) (k) not possess a firearm, destructive device, or other weapon.

(LC) (Il) not use alcohol ( (C] ) at all ¢ oO ) excessively.

(YY) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

(J) @) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
of prohibited substance screening or testing.

(LO) (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or

supervising officer.
(CJ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
(CZ) @) Curfew. You are restricted to your residence every day ( (J) from to .or ((LJ)as

directed by the pretrial services office or supervising officer; or

(LL) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attomey visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(CO) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court; or

(DO) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
you must comply with the location or travel restrictions as imposed by the court,
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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AO 199B (Rev. 12/20) Additional Conditions of Release Page 3 of ae Pages

ADDITIONAL CONDITIONS OF RELEASE

(CJ) (q) submit to the following location monitoring technology and comply with its requirements as directed:
(C1) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
(C1) (ii) Voice Recognition; or
(1) di) Radio Frequency; or
(C1) (ivy GPS.

(CJ) () pay allor part of the cost of location monitoring based upen your ability to pay as determined by the pretrial services or supervising
officer.

(L4J) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

( ) (t) Verity your adcress with Pretnal Sennces Agency (PSA) immediately or by the next business day.

Cefendant to contact DC Pretrial Services (202) 442-1000 on 08/06/2022 at 10am by telephone to be interviewed

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AO 199C (Rev. 09/08) Advice of Penalties

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ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a

revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in

imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years

and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be

consecutive (i.¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;

tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt

to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are

significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,

you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not
more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In

addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

| acknowledge that f am the defendant in this case and that I am aware of the conditions of release. 1 promise to obey all conditions

of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

Acknowledged on the Record SpE Dna

Defendat 's Signature

Wi fhe ton oC

City and State

Directions to the United States Marshal

( Y ) The defendant is ORDERED released after processing.
The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant

Date:

has posted bond and/or complied with all other conditions for release. If still
the appropriate judge at the time and place specified.

[3-20

DISTRIBUTION: COURT

ustody, the defendant must be produced before

TZ AutiQlal Ofieet”s Signature _
2a FACS - Miko IS7KATE ecoc

Printed name and title

DEFENDANT PRETRIALSERVICE U.S.ATTORNEY — U.S. MARSHAL
